                                                    Case 3:17-cv-02246-MMA-BLM Document 69-1 Filed 12/27/18 PageID.1912 Page 1 of 36

                                                         Ion 118




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                                                                                     UNITED STATES DISTRICT COURT
                                                    11                             SOUTHERN DISTRICT OF CALIFORNIA
                           Costa Mesa, California




                                                    12
                                                                   KATHLEEN HOLT, individually                  Case No.: 17-CV-02246-MMA-BLM
                                                    13             and on behalf of all others similarly
                                                    14             situated,                                    MEMORANDUM OF POINTS
                                                                                                                AND AUTHORITIES IN
                                                    15                                Plaintiff,                SUPPORT OF PLAINTIFF’S
                                                    16             v.                                           MOTION FOR PARTIAL
                                                                                                                SUMMARY JUDGMENT AS TO
                                                    17             NOBLE HOUSE HOTELS &                         LIABILITY
                                                    18             RESORT, LTD. d/b/a NOBLE
                                                                   HOUSE HOTELS & RESORT,                       Date: February 4, 2019
                                                    19             LTD. LP; and DOES 1 to 25,                   Time: 2:30 p.m.
                                                    20             inclusive,                                   Place: Courtroom 3D
                                                                                                                Judge: Hon. Michael M. Anello
                                                    21                                Defendants.
                                                    22                                                          [Filed concurrently with Declaration
                                                                                                                of Abbas Kazerounian; Declaration
                                                    23                                                          of Jason A. Ibey; Declaration of
                                                    24                                                          Joshua B. Swigart; Declaration of
                                                                                                                Kevin Lemieux; Declaration of
                                                    25                                                          Kathleen Holt]
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                                                         MEMO. OF P. & A. IN SUPP. OF PL.’S MOT. FOR PARTIAL SUMMARY JUDGMENT AS TO LIABILITY
                                                         CASE NO.: 3:17-CV-02246-MMA-BLM
                                                    Case 3:17-cv-02246-MMA-BLM Document 69-1 Filed 12/27/18 PageID.1913 Page 2 of 36


                                                                                                 TABLE OF CONTENTS
                                                     1
                                                         TABLE OF AUTHORITIES ................................................................................. iii
                                                     2
                                                         I.      INTRODUCTION ......................................................................................... 1
                                                     3
                                                     4 II.      PROCEDURAL BACKGROUND ............................................................... 2
                                                     5
                                                         III.    LEGAL STANDARD ON MOTION FOR SUMMARY JUDGMENT ... 2
                                                     6
                                                     7 IV.       FACTUAL BASIS FOR CLASS CERTIFICATION ................................ 4

                                                     8 V.       SUMMARY JUDGMENT MAY BE GRANTED AS TO THE
                                                     9          CONSUMER LEGAL REMEDIES ACT CLAIM AS A CLASS ACTION
                                                                IN FEDERAL COURT ................................................................................. 7
Kazerouni Law Group, APC




                                                    10
                                                    11 VI.      DEFENDANT HAS VIOLATED THE CONSUMER LEGAL
                           Costa Mesa, California




                                                                REMEDIES ACT ON A CLASS BASIS AS A MATTER OF LAW ....... 7
                                                    12
                                                    13          A. The Restaurant Menus Did Not Account for the 3.5% Surcharge in
                                                                   the Advertised Prices of Food and Drink Items..................................... 8
                                                    14
                                                    15          B. The Restaurant Menu is an Advertisement under the CLRA ............. 9

                                                    16          C. The Menu Food and Beverage Items are Products Under
                                                    17             the CLRA ................................................................................................. 11

                                                    18          D. The Causation and Reliance Requirements are Satisfied ................... 14
                                                    19
                                                                E. Noble House Did Not Comply with Plaintiff’s Demand Pursuant to
                                                    20             Cal. Civ. Code § 1782 .............................................................................. 17
                                                    21
                                                         VII. DEFENDANT IS NOT ENTITLED TO AN AFFIRMATIVE
                                                    22        DEFENSE .................................................................................................... 18
                                                    23
                                                                A. First Affirmative Defense ....................................................................... 18
                                                    24
                                                    25          B. Second Affirmative Defense ................................................................... 19
                                                    26          C. Third Affirmative Defense ..................................................................... 20
                                                    27
                                                                D. Fourth Affirmative Defense ................................................................... 20
                                                    28

                                                         MEMO. OF P. & A. IN SUPP. OF PL.’S MOT. FOR PARTIAL SUMMARY JUDGMENT AS TO LIABILITY
                                                         CASE NO.: 3:17-CV-02246-MMA-BLM                        i
                                                    Case 3:17-cv-02246-MMA-BLM Document 69-1 Filed 12/27/18 PageID.1914 Page 3 of 36


                                                                E. Sixth Affirmative Defense ....................................................................... 21
                                                     1
                                                     2          F. Seventh Affirmative Defense .................................................................. 21
                                                     3
                                                                G. Tenth Affirmative Defense ................................................................... 22
                                                     4
                                                     5          H. Eleventh Affirmative Defense .............................................................. 22

                                                     6          I. Twelfth Affirmative Defense ................................................................. 22
                                                     7
                                                                J. Thirteenth, Fourteenth, Fifteenth Affirmative Defenses.................... 23
                                                     8
                                                     9          K. Seventeenth Affirmative Defense ........................................................ 23
Kazerouni Law Group, APC




                                                    10          L. Eighteenth Affirmative Defense ........................................................... 23
                                                    11
                           Costa Mesa, California




                                                                M. Nineteenth Affirmative Defense ........................................................... 23
                                                    12
                                                    13          N. Twentieth Affirmative Defense ............................................................. 23

                                                    14 VIII.       CONCLUSION ........................................................................................ 24
                                                    15
                                                    16
                                                    17
                                                    18
                                                    19
                                                    20
                                                    21
                                                    22
                                                    23
                                                    24
                                                    25
                                                    26
                                                    27
                                                    28

                                                         MEMO. OF P. & A. IN SUPP. OF PL.’S MOT. FOR PARTIAL SUMMARY JUDGMENT AS TO LIABILITY
                                                         CASE NO.: 3:17-CV-02246-MMA-BLM                        ii
                                                    Case 3:17-cv-02246-MMA-BLM Document 69-1 Filed 12/27/18 PageID.1915 Page 4 of 36


                                                                                             TABLE OF AUTHORITIES
                                                     1
                                                          Cases
                                                     2
                                                     3 ABC Distrib. v. Living Essentials LLC,
                                                     4    No. 15-cv-02064 NC,
                                                          2016 U.S. Dist. LEXIS 185992 (N.D. Cal. Apr. 26, 2016) ......................... passim
                                                     5
                                                     6 Adickes v. S.H. Kress & Co.,
                                                          398 U.S. 144, 90 S.Ct. 1598, 26 L. Ed. 2d 142 (1970) ......................................... 2
                                                     7
                                                     8 Allen v. A.H. Robins Co., Inc.,
                                                           752 F.2d 1365 (9th Cir.1985) .............................................................................. 20
                                                     9
Kazerouni Law Group, APC




                                                    10 Anderson v. Liberty Lobby, Inc.,
                                                          477 U.S. 242, 106 S.Ct. 2505, 91 L. Ed. 2d 202 (1986) ....................................... 3
                                                    11
                           Costa Mesa, California




                                                    12 American Ventures, Inc. v. Post, Buckley, Schuh & Jernigan, Inc.,
                                                           No. C92-1817Z,
                                                    13    1993 U.S. Dist. LEXIS 19559 (W.D. Wash. May 14, 1993)................................ 4
                                                    14
                                                          Arring v. Golden Gate Univ.,
                                                    15       2014 Cal. Super. LEXIS 3761 (2014) ................................................................. 15
                                                    16
                                                       Ballentine v. Las Vegas Metro. Police Dep't,
                                                    17    No. 2:14-cv-01584-APG-GWF,
                                                    18    2017 U.S. Dist. LEXIS 133777 (D. Nev. Aug. 21, 2017) .................................. 24

                                                    19 Berger v. Home Depot USA, Inc.,
                                                    20    741 F.3d 1061 (9th Cir. 2014) ........................................................................... 16

                                                    21 Bickel v. City of Piedmont,
                                                    22    16 Cal.4th 1040 (1997) ...................................................................................... 19

                                                    23 Bogart v. Glenmark Generics, Inc.,
                                                    24    No. 14-CV-778 LAB DHB,
                                                          2014 U.S. Dist. LEXIS 158055 (S.D. Cal. Nov. 5, 2014) ............................ 12-13
                                                    25
                                                    26 Bradach v. Pharmavite, LLC,
                                                          735 F.App'x 251 (9th Cir. 2018) ........................................................................ 16
                                                    27
                                                    28

                                                          MEMO. OF P. & A. IN SUPP. OF PL.’S MOT. FOR PARTIAL SUMMARY JUDGMENT AS TO LIABILITY
                                                          CASE NO.: 3:17-CV-02246-MMA-BLM                        iii
                                                    Case 3:17-cv-02246-MMA-BLM Document 69-1 Filed 12/27/18 PageID.1916 Page 5 of 36


                                                          Brockey v. Moore,
                                                     1
                                                             107 Cal.App.4th 86 (2003) ................................................................................ 17
                                                     2
                                                          Broughton v. Cigna Healthplans,
                                                     3
                                                             21 Cal.4th 1066 (1999) ........................................................................................ 7
                                                     4
                                                     5 Celotex Corp. v. Catrett,
                                                          477 U.S. 317, 106 S.Ct. 2548, 91 L. Ed. 2d 265 (1986) ...................................... 3
                                                     6
                                                     7 City of Ukiah v. Fones,
                                                          64 Cal.2d 104 (1996) ......................................................................................... 19
                                                     8
                                                     9 Clark v. Capital Credit & Collection Servs.,
                                                          460 F.3d 1162 (9th Cir. 2006) ........................................................................... 18
Kazerouni Law Group, APC




                                                    10
                                                    11 Consumer Fin. Prot. Bureau v. Glob. Fin. Support, Inc.,
                           Costa Mesa, California




                                                          2016 U.S. Dist. LEXIS 22644 (S.D. Cal. Feb. 24, 2016) .................................. 18
                                                    12
                                                    13 Cortina v. Goya Foods, Inc.,
                                                          94 F. Supp. 3d 1174,
                                                    14    2015 U.S. Dist. LEXIS 40159 (S.D. Cal. Mar. 19, 2015) ................................. 10
                                                    15
                                                          Digital Control Inc. v. McLaughlin Mfg. Co., Inc.,
                                                    16       248 F. Supp. 2d 1019 (W.D. Wash. 2003) ........................................................ 18
                                                    17
                                                          Ellenburg v. Brockway, Inc.,
                                                    18       763 F.2d 1091 (9th Cir. 1985) ........................................................................... 21
                                                    19
                                                          Engalla v. Permanente Medical Group, Inc.,
                                                    20      15 Cal.4th 951 (1997) ........................................................................................ 15
                                                    21
                                                       Faigman v. AT&T Mobility LLC,
                                                    22    No. C 06-04622 MHP,
                                                    23    2007 U.S. Dist. LEXIS 52192 (N.D. Cal. 2007) ........................................... 8, 10

                                                    24 Fairbanks v. Superior Court,
                                                    25    46 Cal.4th 56 (2009) .......................................................................................... 12
                                                    26 In re Ferrero Litig.,
                                                    27     794 F. Supp. 2d 1107 (S.D. Cal. June 30, 2011) ............................................... 12
                                                    28

                                                          MEMO. OF P. & A. IN SUPP. OF PL.’S MOT. FOR PARTIAL SUMMARY JUDGMENT AS TO LIABILITY
                                                          CASE NO.: 3:17-CV-02246-MMA-BLM                        iv
                                                    Case 3:17-cv-02246-MMA-BLM Document 69-1 Filed 12/27/18 PageID.1917 Page 6 of 36


                                                         Fortyune v. American Multi-Cinema, Inc.,
                                                     1
                                                           364 F.3d 1075 (9th Cir. 2004) ............................................................................. 2
                                                     2
                                                         Gomez v. J. Jacobo Farm Labor Contr., Inc.,
                                                     3
                                                           188 F. Supp. 3d 986, 1003-1004 (E.D. Cal. 2016) ...................................... 22, 23
                                                     4
                                                     5 Gonzales v. CarMax Auto Superstores, LLC,
                                                         840 F.3d 644 (9th Cir. 2016) ............................................................................... 8
                                                     6
                                                     7 Green v. Sherman,
                                                         No. 1:15-cv-01548-LJO-MJS (PC),
                                                     8   2018 U.S. Dist. LEXIS 15964 (E.D. Cal. Jan. 31, 2018) .................................. 18
                                                     9
                                                       Haskins v. Symantec Corp.,
Kazerouni Law Group, APC




                                                    10   No. 13-cv-01834-JST,
                                                    11   2013 U.S. Dist. LEXIS 169865 (N.D. Cal. Dec. 1, 2013) ........................... 12, 14
                           Costa Mesa, California




                                                    12 Hawthorne v. Umpqua Bank,
                                                    13    No. 11-cv-06700-JST,
                                                          2013 U.S. Dist. LEXIS 153697 (N.D. Cal. Oct. 25, 2013) ............................... 11
                                                    14
                                                    15 Hinojos v. Kohl's Corp.,
                                                          718 F.3d 1098 (9th Cir. 2013) .......................................................................... 16
                                                    16
                                                    17 Holt v. Noble House Hotels & Resort, Ltd.,
                                                          No. 17cv2246-MMA (BLM),
                                                    18    2018 U.S. Dist. LEXIS 10955 (S.D. Cal. Jan. 23, 2018) ................................... 14
                                                    19
                                                       Holt v. Noble House Hotels & Resort, Ltd.,
                                                    20    No. 17cv2246-MMA (BLM),
                                                    21    2018 U.S. Dist. LEXIS 177940 (S.D. Cal. Oct. 16, 2018) .............................. 1, 5

                                                    22 In re Steroid Hormone Prod. Cases,
                                                    23     181 Cal. App. 4th 145, 104 Cal. Rptr. 3d 329 (2010) ....................................... 14

                                                    24 Jasper v. C.R. Eng., Inc.,
                                                    25    No. CV 08-5266-GW(CWx),
                                                          2012 U.S. Dist. LEXIS 186607 (C.D. Cal. Aug. 30, 2012) .................................. 4
                                                    26
                                                    27 Kasky v. Nike, Inc.,
                                                          27 Cal.4th 939, 119 Cal. Rptr. 2d 296, 45 P.3d 243 (2002) ........................ 14, 16
                                                    28

                                                         MEMO. OF P. & A. IN SUPP. OF PL.’S MOT. FOR PARTIAL SUMMARY JUDGMENT AS TO LIABILITY
                                                         CASE NO.: 3:17-CV-02246-MMA-BLM                        v
                                                    Case 3:17-cv-02246-MMA-BLM Document 69-1 Filed 12/27/18 PageID.1918 Page 7 of 36


                                                          Kazi v. State Farm Fire & Cas. Co.,
                                                     1
                                                            24 Cal. 4th 871 (2001) ....................................................................................... 13
                                                     2
                                                          Keegan v. American Honda Motor Co., Inc.,
                                                     3
                                                            284 F.R.D. 504 (C.D. Cal. 2012) ....................................................................... 15
                                                     4
                                                     5 Kieffer v. Spencer,
                                                          153 Cal. App. 3d 954 (1984) ............................................................................. 19
                                                     6
                                                     7 Lazar v. Kroncke,
                                                          862 F.3d 1186 (9th Cir. 2017) ........................................................................... 24
                                                     8
                                                     9 Long v. County of Los Angeles,
                                                          442 F.3d 1178 (9th Cir. 2006) ................................................................................ 3
Kazerouni Law Group, APC




                                                    10
                                                    11 Marolda v. Symantec Corp.,
                           Costa Mesa, California




                                                          672 F.Supp.2d 992 (N.D. Cal. 2009) .................................................................. 8
                                                    12
                                                    13 Mass. Mutual Life Ins. Co. v. Superior Court,
                                                          97 Cal. App. 4th 1282, 119 Cal.Rptr.2d 190 (2002) ......................................... 15
                                                    14
                                                    15 McCabe v. Crawford & Co.,
                                                          272 F.Supp.2d 736, 749 (N.D. Ill. 2003) ........................................................... 22
                                                    16
                                                    17 McCrary v. Elations Co., LLC,
                                                          2014 U.S. Dist. LEXIS 8443 (C.D. Cal. Jan. 13, 2014) ............................... 15-16
                                                    18
                                                    19 Microsoft Corp. v. Baker,
                                                          137 S. Ct. 1702, 198 L. Ed. 2d 132 (2017) ................................................... 16-17
                                                    20
                                                    21 Nelson v. Pearson Ford Co.,
                                                          186 Cal. App. 4th 983 (2010) ............................................................................ 14
                                                    22
                                                    23 Nissan Fire & Marine Ins. Co. v. Fritz Companies,
                                                          210 F.3d 1099 (9th Cir. 2000) ............................................................................. 3
                                                    24
                                                    25 Nyberg v. Portfolio Recovery Assocs., LLC,
                                                          No. 3:15-cv-01175-PK
                                                    26    2016 U.S. Dist. LEXIS 71897 (D.Or. June 2, 2016) ......................................... 21
                                                    27
                                                       Reilly v. Inquest Technology, Inc.,
                                                    28    218 Cal.App.4th 536 (2013) .............................................................................. 12

                                                          MEMO. OF P. & A. IN SUPP. OF PL.’S MOT. FOR PARTIAL SUMMARY JUDGMENT AS TO LIABILITY
                                                          CASE NO.: 3:17-CV-02246-MMA-BLM                        vi
                                                    Case 3:17-cv-02246-MMA-BLM Document 69-1 Filed 12/27/18 PageID.1919 Page 8 of 36


                                                          Ries v. Ariz. Bevs. USA LLC,
                                                     1
                                                             287 F.R.D. 523 (N.D. Cal. 2012) ....................................................................... 20
                                                     2
                                                          Rodman v. Safeway Inc.,
                                                     3
                                                            125 F. Supp. 3d 922 (N.D. Cal. 2015)
                                                     4
                                                     5 Ruffin Rd. Venture Lot IV v. Travelers Prop. Cas. Co. of Am.,
                                                          No. 10-CV-11-JM (WVG),
                                                     6    2011 U.S. Dist. LEXIS 66095 (S.D. Cal. June 20, 2011) ................................. 3-4
                                                     7
                                                          Savaglio v. Wal-Mart Stores, Inc.,
                                                     8       149 Cal.App.4th 588 (2007) .............................................................................. 19
                                                     9
                                                          Security Pac. Nat. Bank v. Associated Motor Sales,
Kazerouni Law Group, APC




                                                    10       106 Cal. App. 3d 171 (1989) ............................................................................. 15
                                                    11
                           Costa Mesa, California




                                                       Sims v. Peak Legal Advocates,
                                                    12    No. SACV 18-1199 JVS (KESx),
                                                    13    2018 U.S. Dist. LEXIS 196245 (C.D. Cal. Nov. 16, 2018) .............. 20-21, 21, 23

                                                    14 Soremekun v. Thrifty Payless, Inc.,
                                                    15    509 F.3d 978 (9th Cir. 2007) ............................................................................... 3

                                                    16 Soto v. Superior Telcoms., Inc.,
                                                    17     No. 10cv135-IEG (BLM),
                                                           2011 U.S. Dist. LEXIS 145205 (S.D. Cal. Dec. 15, 2011) ................................. 7
                                                    18
                                                    19 In re Tobacco II Cases,
                                                           46 Cal.4th 298 (2009) ........................................................................................ 14
                                                    20
                                                    21 TRW, Inc. v. FTC,
                                                           647 F.2d 942 (9th Cir. 1981) ............................................................................. 19
                                                    22
                                                    23 T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors Ass'n,
                                                           809 F.2d 626 (9th Cir. 1987) ............................................................................... 3
                                                    24
                                                    25 United Fabrics Int'l, Inc. v. Urban Outfitters, Inc.,
                                                           No. CV 10-7895 CBM (PLAx),
                                                    26     2012 U.S. Dist. LEXIS 199090, (C.D. Cal. Apr. 26, 2012) ................................ 4
                                                    27
                                                       Waller v. Truck Ins. Exchange, Inc.,
                                                    28     11 Cal.4th 1 (1995) ............................................................................................ 19

                                                          MEMO. OF P. & A. IN SUPP. OF PL.’S MOT. FOR PARTIAL SUMMARY JUDGMENT AS TO LIABILITY
                                                          CASE NO.: 3:17-CV-02246-MMA-BLM                        vii
                                                    Case 3:17-cv-02246-MMA-BLM Document 69-1 Filed 12/27/18 PageID.1920 Page 9 of 36


                                                          Wang v. Massey Chevrolet,
                                                     1
                                                            97 Cal. App. 4th 856, 118 Cal. Rptr. 2d 770 (2002) ......................................... 11
                                                     2
                                                       Wixon v. Wyndham Resort Dev. Corp.,
                                                     3
                                                         No. C 07-02361 JSW,
                                                     4   2008 U.S. Dist. LEXIS 120062 (N.D. Cal. Apr. 18, 2008) ............................... 13
                                                     5
                                                     6 Statutes
                                                     7
                                                          Cal. Code Civ. Proc. § 437(c) ................................................................................... 7
                                                     8
                                                     9 Cal. Civ. Code § 1738.12 ........................................................................................ 12
Kazerouni Law Group, APC




                                                    10 Cal. Civ. Code § 1755 ............................................................................................... 9
                                                    11
                           Costa Mesa, California




                                                          Cal. Civ. Code § 1760 ............................................................................................. 11
                                                    12
                                                    13 Cal. Civ. Code § 1761(a)......................................................................................... 13
                                                    14 Cal. Civ. Code § 1770 ............................................................................................... 1
                                                    15
                                                          Cal. Civ. Code § 1770(a)........................................................................................ 7-8
                                                    16
                                                    17 Cal. Civ. Code § 1770(1) ........................................................................................ 13
                                                    18 Cal. Civ. Code § 1770(2) ........................................................................................ 13
                                                    19
                                                       Cal. Civ. Code § 1770(4) ........................................................................................ 13
                                                    20
                                                    21 Cal. Civ. Code § 1770(5) ........................................................................................ 13
                                                    22 Cal. Civ. Code § 1770(6) ........................................................................................ 13
                                                    23
                                                       Cal. Civ. Code § 1770(7) ........................................................................................ 13
                                                    24
                                                    25 Cal. Civ. Code § 1770(8) ........................................................................................ 13
                                                    26 Cal. Civ. Code § 1770(9) ........................................................................................ 13
                                                    27
                                                       Cal. Civ. Code § 1770(10) ...................................................................................... 13
                                                    28

                                                          MEMO. OF P. & A. IN SUPP. OF PL.’S MOT. FOR PARTIAL SUMMARY JUDGMENT AS TO LIABILITY
                                                          CASE NO.: 3:17-CV-02246-MMA-BLM                        viii
                                                    Case 3:17-cv-02246-MMA-BLM Document 69-1 Filed 12/27/18 PageID.1921 Page 10 of 36


                                                          Cal. Civ. Code § 1770(20) ............................................................................... passim
                                                     1
                                                     2 Cal. Civ. Code § 1770(21) ...................................................................................... 13
                                                     3
                                                          Cal. Civ. Code § 1770(25) ...................................................................................... 13
                                                     4
                                                     5 Cal. Civ. Code § 1770(26) ...................................................................................... 13
                                                     6 Cal. Civ. Code § 1770(27) ...................................................................................... 13
                                                     7
                                                          Cal. Civ. Code § 1780 ............................................................................................... 8
                                                     8
                                                     9 Cal. Civ. Code § 1781(a)........................................................................................... 7
Kazerouni Law Group, APC




                                                    10 Cal. Civ. Code § 1781(c)........................................................................................... 7
                                                    11
                           Costa Mesa, California




                                                          Cal. Civ. Code § 1782 ......................................................................................... 6, 17
                                                    12
                                                    13 Cal. Civ. Code § 3294 ............................................................................................. 23
                                                    14 Rules
                                                    15
                                                          Fed. R. Civ. P., Rule 5.1 ....................................................................................... 6, 24
                                                    16
                                                    17 Fed. R. Civ. P. 12(b)(6) ....................................................................................... 2, 18
                                                    18 Fed. R. Civ. P. 23.............................................................................................. passim
                                                    19
                                                       Fed. R. Civ. P. 23(b)(2) ..................................................................................... 22, 23
                                                    20
                                                    21 Fed. R. Civ. P. 23(b)(3) ............................................................................... 14, 22, 23
                                                    22 Fed. R. Civ. P. 56(a) ............................................................................................. 1, 2
                                                    23
                                                       Fed. R. Civ. P. 56(c) .................................................................................................. 2
                                                    24
                                                    25 47 C.F.R. § 64.1200(f)(1) ......................................................................................... 9
                                                    26
                                                    27
                                                    28

                                                          MEMO. OF P. & A. IN SUPP. OF PL.’S MOT. FOR PARTIAL SUMMARY JUDGMENT AS TO LIABILITY
                                                          CASE NO.: 3:17-CV-02246-MMA-BLM                        ix
                                                    Case 3:17-cv-02246-MMA-BLM Document 69-1 Filed 12/27/18 PageID.1922 Page 11 of 36


                                                         Other
                                                     1
                                                     2 Dayna B. Royal,
                                                         The Skinny on the Federal Menu-Labeling Law & Why it Should Survive a
                                                     3
                                                         First Amendment Challenge,
                                                     4   10 FIRST AMEND. L. REV. 140, 150-151 (Fall 2011).......................................... 10
                                                     5
                                                       Merriam-Webster.com, 2018.
                                                     6   https://www.merriam-webster.com/dictionary/advertise
                                                     7   (December 4, 2018) ...................................................................................... 10, 11

                                                     8 The Law Dictionary, featuring Black’s Law Dictionary free online legal
                                                     9   dictionary, 2nd ed., https://thelawdictionary.org/advertisement
                                                         (November 30, 2018) ......................................................................................... 10
Kazerouni Law Group, APC




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                           Costa Mesa, California




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                                                         MEMO. OF P. & A. IN SUPP. OF PL.’S MOT. FOR PARTIAL SUMMARY JUDGMENT AS TO LIABILITY
                                                         CASE NO.: 3:17-CV-02246-MMA-BLM                        x
                                                    Case 3:17-cv-02246-MMA-BLM Document 69-1 Filed 12/27/18 PageID.1923 Page 12 of 36



                                                     1 I.        INTRODUCTION
                                                     2           This Court recently granted class certification status to this action brought by
                                                     3 plaintiff Kathleen Holt (“Ms. Holt” or “Plaintiff”) against defendant Noble House
                                                     4 Hotels & Resort, LTD. d/b/a Noble House Hotels & Resort, LTD. LP (“Noble
                                                     5 House” or “Defendant”), based on causes of action under California’s Consumer
                                                     6 Legal Remedies Act California Civil Code § 1770(20), and the California Business
                                                     7 and Professions Code § 17200, et seq. Holt v. Noble House Hotels & Resort, Ltd.,
                                                     8 No. 17cv2246-MMA (BLM), 2018 U.S. Dist. LEXIS 177940, at *33 (S.D. Cal. Oct.
                                                     9 16, 2018). The Court certified two classes, an injunctive relief class and a restitution
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                                                    10 class (together the “Class” or “Class Members”).
                                                    11           Pursuant to Fed. R. Civ. P. 56(a), Plaintiff now seeks partial summary
                           Costa Mesa, California




                                                    12 judgment as to liability only, on a class basis, for Noble House’s violations of the
                                                    13 Consumer Legal Remedies Act, Cal. Civ. Code § 1770, et seq. (the “CLRA”),
                                                    14 specifically, a per se violation of § 1770(a)(20) for Noble House’s failure to
                                                    15 advertise the total price of the food and beverage items inclusive of the 3.5%
                                                    16 surcharge.
                                                    17           As demonstrated in this Motion for Partial Summary Judgment (“Motion”),
                                                    18 there is no dispute regarding the material facts that make up the CLRA claims of
                                                    19 Plaintiff and the Class Members because Noble House admits to engaging in the same
                                                    20 surcharge practice at the hotels it manages in California. Furthermore, the issue of
                                                    21 whether such surcharge practice is a per se violation of the CLRA is a question of law
                                                    22 for the Court to decide, which question should be resolved in favor of Plaintiff and
                                                    23 that Class Members. Defendant is also not entitled to any of its asserted affirmative
                                                    24 defenses, and the Court has ordered some of the affirmative defenses dismissed with
                                                    25 prejudice.
                                                    26           The Court need not presently know the identity of the Class Members or
                                                    27 determine the amount of damages to be awarded to the Class Members in order to
                                                    28

                                                         MEMO. OF P. & A. IN SUPP. OF PL.’S MOT. FOR PARTIAL SUMMARY JUDGMENT AS TO LIABILITY
                                                         CASE NO.: 3:17-CV-02246-MMA-BLM                        1
                                                    Case 3:17-cv-02246-MMA-BLM Document 69-1 Filed 12/27/18 PageID.1924 Page 13 of 36



                                                     1 find Defendant’s surcharge practice violates the CLRA as a matter of law, and
                                                     2 consequently, that Defendant is liable for its conduct in violation of California law.
                                                     3           Therefore, Plaintiff, on behalf of herself and the Class Members, respectfully
                                                     4 requests that the Court grant the Motion as to liability of Defendant to Plaintiff and
                                                     5 the Class for violations of § 1770(a)(20) of the CLRA.
                                                     6           Pursuant to Chamber Rule IV., Plaintiff submits herewith a separate statement
                                                     7 of undisputed material facts (the “SSUMF”).
                                                     8 II.       PROCEDURAL BACKGROUND
                                                     9           This action was removed from state court on November 3, 2017 (Dkt. No. 1),
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                                                    10 having been filed on September 20, 2017 (see id). On January 23, 2018, the Court
                                                    11 denied a motion by Plaintiff to remand to state court and also denied a motion to
                           Costa Mesa, California




                                                    12 dismiss by Defendant pursuant to Fed. R. Civ. P. 12(b)(6). [Dkt. No. 14.] After
                                                    13 granting leave to amend, Plaintiff filed a First Amended Complaint on April 30,
                                                    14 2018. [Dkt. No. 35.] Defendant filed an Answer on May 14, 2018. [Dkt. No. 37.]
                                                    15 The Court granted class certification on October 16, 2018. [Dkt. No. 63.] The
                                                    16 deadline to file dispositive motions is February 22, 2019. [Dkt. No. 22, ¶ 10.] The
                                                    17 Court has dismissed with prejudice the Defendant’s fifth, eighth, ninth, sixteenth
                                                    18 and twenty-first affirmative defenses. [Dkt. No. 66.]
                                                    19 III.      LEGAL STANDARD ON MOTION FOR SUMMARY JUDGMENT
                                                    20           Under federal law, “[a] party may move for summary judgment, identifying
                                                    21 each claim or defense — or the part of each claim or defense — on which
                                                    22 summary judgment is sought.” Fed. R. Civ. P. 56(a). Summary judgment is
                                                    23 appropriate when it is demonstrated that there exists no genuine issue as to any
                                                    24 material fact, and that the moving party is entitled to judgment as a matter of law.
                                                    25 Fed. R. Civ. P. 56(c); Adickes v. S.H. Kress & Co., 398 U.S. 144, 157, 90 S.Ct.
                                                    26 1598, 26 L. Ed. 2d 142 (1970); Fortyune v. American Multi-Cinema, Inc., 364 F.3d
                                                    27 1075, 1080 (9th Cir. 2004).
                                                    28

                                                         MEMO. OF P. & A. IN SUPP. OF PL.’S MOT. FOR PARTIAL SUMMARY JUDGMENT AS TO LIABILITY
                                                         CASE NO.: 3:17-CV-02246-MMA-BLM                        2
                                                    Case 3:17-cv-02246-MMA-BLM Document 69-1 Filed 12/27/18 PageID.1925 Page 14 of 36


                                                                 The party seeking summary judgment bears the burden of demonstrating an
                                                     1
                                                         absence of a genuine issue of material fact. Celotex Corp. v. Catrett, 477 U.S. 317,
                                                     2
                                                         323, 106 S.Ct. 2548, 91 L. Ed. 2d 265 (1986); Soremekun v. Thrifty Payless, Inc.,
                                                     3
                                                         509 F.3d 978, 984 (9th Cir. 2007). If a moving party fails to carry its burden of
                                                     4
                                                         production, then “the nonmoving party has no obligation to produce anything, even
                                                     5
                                                     6 if the non-moving party would have the ultimate burden of persuasion.” Nissan Fire
                                                     7 & Marine Ins. Co. v. Fritz Companies, 210 F.3d 1099, 1102-03 (9th Cir. 2000).
                                                     8           A fact is “material” if it might affect the outcome of the suit under the

                                                     9 governing law. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248-49, 106
Kazerouni Law Group, APC




                                                    10 S.Ct. 2505, 91 L. Ed. 2d 202 (1986); Thrifty Oil Co. v. Bank of America Nat'l Trust
                                                    11 & Savings Assn., 322 F.3d 1039, 1046 (9th Cir. 2002). A dispute is “genuine” as to
                           Costa Mesa, California




                                                    12 a material fact if there is sufficient evidence for a reasonable jury to return a verdict
                                                    13 for the non-moving party. Anderson v. Liberty Lobby, Inc., 477 U.S. at 248; Long v.
                                                    14 County of Los Angeles, 442 F.3d 1178, 1185 (9th Cir. 2006).
                                                    15           On a summary judgment motion, the Court does not make credibility

                                                    16 determinations or weigh conflicting evidence. T.W. Elec. Serv., Inc. v. Pac. Elec.
                                                    17 Contractors Ass'n, 809 F.2d 626, 630 (9th Cir. 1987). Rather, “[t]he evidence of the
                                                    18 non-movant is to be believed, and all justifiable inferences are to be drawn in [the
                                                    19 nonmovant's] favor.” Anderson v. Liberty Lobby, Inc., 477 U.S. at 255 (1986). The
                                                    20 evidence presented by the parties must be admissible, and conclusory, speculative
                                                    21 testimony is insufficient to raise genuine issues of material fact and defeat summary
                                                    22 judgment. Soremekun v. Thrifty Payless, Inc., 509 F.3d at 984 (9th Cir. 2007).
                                                    23           A motion for partial summary judgment may be granted as to liability only,
                                                    24 with damages to be determined at a later hearing. See Ruffin Rd. Venture Lot IV v.
                                                    25 Travelers Prop. Cas. Co. of Am., No. 10-CV-11-JM (WVG), 2011 U.S. Dist.
                                                    26 LEXIS 66095, at *25-26 (S.D. Cal. June 20, 2011) (“Therefore, because a
                                                    27 reasonable reading of the Policy does not exclude coverage for the damage to Ruffin
                                                    28 Road's HVAC system, the court grants partial summary judgment in favor of Ruffin

                                                         MEMO. OF P. & A. IN SUPP. OF PL.’S MOT. FOR PARTIAL SUMMARY JUDGMENT AS TO LIABILITY
                                                         CASE NO.: 3:17-CV-02246-MMA-BLM                        3
                                                    Case 3:17-cv-02246-MMA-BLM Document 69-1 Filed 12/27/18 PageID.1926 Page 15 of 36



                                                     1 Road on the issue of liability only for this claim. Because the parties do not agree on
                                                     2 the precise nature of the repairs that will be required, the question of damages for
                                                     3 this breach of contract are reserved for trial.”); American Ventures, Inc. v. Post,
                                                     4 Buckley, Schuh & Jernigan, Inc., No. C92-1817Z, 1993 U.S. Dist. LEXIS 19559, at
                                                     5 *24 (W.D. Wash. May 14, 1993) (Granting the “plaintiff's motion for
                                                     6 partial summary judgment as to liability” in an action under the Lanham Act and
                                                     7 other statutes); United Fabrics Int'l, Inc. v. Urban Outfitters, Inc., No. CV 10-7895
                                                     8 CBM (PLAx), 2012 U.S. Dist. LEXIS 199090, at *17 (C.D. Cal. Apr. 26, 2012)
                                                     9 (Granting summary adjudication as to “the issue of liability” and ruling that “[t]he
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                                                    10 only issues that remain to be tried are that of willfulness and damages.”); Jasper v.
                                                    11 C.R. Eng., Inc., No. CV 08-5266-GW(CWx), 2012 U.S. Dist. LEXIS 186607, at
                           Costa Mesa, California




                                                    12 *53 (C.D. Cal. Aug. 30, 2012) (“The Court would GRANT Plaintiffs’ motion for
                                                    13 summary judgment as to the reserve account class claim, and would DENY
                                                    14 Plaintiffs' motion for summary judgment as to the Driver Legal Plan class claim.”).
                                                    15 IV.       FACTUAL BASIS FOR CLASS CERTIFICATION
                                                    16           As the Court is aware from the class certification briefing, Noble House is a
                                                    17 restaurant management company operating restaurants in the State of California,
                                                    18 including Acqua California Bistro, the Olive Lounge (a/k/a Olive Bar), Fresco’s,
                                                    19 and the Aroma coffee shop. [SSUMF No. 1.]
                                                    20           Beginning in February of 2017, Noble House charged a 3.5% surcharge on
                                                    21 every food and drink item within four Hilton hotel restaurants in San Diego.
                                                    22 [SSUMF No. 2.] The three Hilton hotel restaurants managed by Noble House in
                                                    23 California where a menu is used include Acqua California Bistro, the Olive Lounge
                                                    24 (a/k/a Olive Bar), and Fresco’s. [SSUMF No. 3.] Noble House does not use a menu
                                                    25 at the Aroma coffee shop. [SSUMF No. 4.]
                                                    26           Instead of advertising the total cost of menu items inclusive of the surcharge,
                                                    27 Noble House placed a notice at the bottom of its menus. [SSUMF No. 5.] The
                                                    28 menus at the three restaurants each stated at the bottom, “A 3.5% surcharge will be

                                                         MEMO. OF P. & A. IN SUPP. OF PL.’S MOT. FOR PARTIAL SUMMARY JUDGMENT AS TO LIABILITY
                                                         CASE NO.: 3:17-CV-02246-MMA-BLM                        4
                                                    Case 3:17-cv-02246-MMA-BLM Document 69-1 Filed 12/27/18 PageID.1927 Page 16 of 36



                                                     1 added to all guest checks to help cover increasing labor costs and in our support of the
                                                     2 recent increases in minimum wage and benefits for our dedicated team members.”
                                                     3 [SSUMF No. 6.] The same disclosure is also included on the bottom of the bills
                                                     4 provided after the meal is completed. [SSUMF No. 7.]
                                                     5           The surcharge disclosure is the same size font as the advertised price of the
                                                     6 menu items. [SSUMF No. 8.]
                                                     7           Before February of 2017, Noble House did not have a practice to charge a
                                                     8 surcharge for food or drink items. [SSUMF No. 9.] Noble House began charging a
                                                     9 3.5% surcharge following a law increasing the minimum wage. [SSUMF Nos. 25.]
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                                                    10 See SB3, amending Labor Code § 1182.12 (the minimum hourly wage increased for
                                                    11 2017 to $10.50, and is scheduled to rise to $15 an hour over a period of time).
                           Costa Mesa, California




                                                    12           Importantly, the Court has previously acknowledged that “the parties agree
                                                    13 that Noble House engages in the same surcharge practice for all restaurants Noble
                                                    14 House manages in California for Hilton hotels.” Holt, 2018 U.S. Dist. LEXIS
                                                    15 177940, at *10, citing Dkt. Nos. 20 and 21. [SSUMF No. 10.]
                                                    16           Credit card receipts for restaurant purchases include information such as the
                                                    17 consumer’s name and signature, on each and every receipt that is printed, as well as
                                                    18 what kind of credit card it is, such as Visa or Mastercard. [SSUMF No. 11.] See
                                                    19 also, Holt, 2018 U.S. Dist. LEXIS 177940, at *30 (“Noble House keeps hard copies
                                                    20 of every credit card receipt—which contains customer information like the
                                                    21 customer's name, signature, and type of credit card used—for three years.”)
                                                    22           Ms. Holt currently is and was California resident throughout the year 2017
                                                    23 (SSUMF No. 12), and was a customer at the Acqua restaurant and paid (by credit
                                                    24 card) more for meal due to Defendant’s surcharge practice (SSUMF Nos. 13-14).
                                                    25           Nobel House has grossed over $200,000 based on its surcharge practice at the
                                                    26 restaurants at the Hilton hotel in San Diego through June 4, 2018 (SSUMF No. 16),
                                                    27 affecting hundreds of customers (SSUMF No. 17). And Noble House continues to
                                                    28

                                                         MEMO. OF P. & A. IN SUPP. OF PL.’S MOT. FOR PARTIAL SUMMARY JUDGMENT AS TO LIABILITY
                                                         CASE NO.: 3:17-CV-02246-MMA-BLM                        5
                                                    Case 3:17-cv-02246-MMA-BLM Document 69-1 Filed 12/27/18 PageID.1928 Page 17 of 36



                                                     1 charge a 3.5% surcharge at Acqua California Bistro, the Olive Lounge, and Fresco’s
                                                     2 (SSUMF Nos. 18).
                                                     3           Kathleen Holt filed the lawsuit against Noble House in state court on
                                                     4 September 20, 2017 (SSUMF Nos. 19), forty-five days after dining and paying for
                                                     5 her meal at the Acqua California Bistro on August 6, 2017 (SSUMF Nos. 13-15).
                                                     6           Plaintiff, through counsel, served on Noble House a demand letter pursuant to
                                                     7 Cal. Civ. Code § 1782, dated August 23, 2017 (the “CLRA Demand.”) [SSUMF
                                                     8 Nos. 20.] Within thirty days of receiving the CLRA Demand, Noble House did not
                                                     9 cease charging a 3.5% surcharge or change its menus to advertise the menu item
Kazerouni Law Group, APC




                                                    10 prices inclusive of the 3.5% surcharge. [SSUMF Nos. 21.] Counsel for Defendant
                                                    11 served a letter dated September 22, 2017, acknowledging receipt of the CLRA
                           Costa Mesa, California




                                                    12 Demand from Plaintiff. [SSUMF Nos. 22.]
                                                    13           Kathleen Holt has not knowingly and voluntarily waived her claims against
                                                    14 Noble House under Cal. Civ. Code § 1770(a)(20). [SSUMF Nos. 23.] Noble House
                                                    15 has produced no evidence that the Class Members (for both the injunctive relief class
                                                    16 and restitution class) knowingly and voluntarily waived their claims against Noble
                                                    17 House under Cal. Civ. Code § 1770(a)(20). [SSUMF Nos. 24.]
                                                    18           Noble House has not served a notice of constitutional challenge pursuant to
                                                    19 Fed. R. Civ. P., Rule 5.1. [SSUMF Nos. 26.] And the Twentieth Affirmative Defense
                                                    20 asserted by Noble House does not specify the specific constitutional provision that
                                                    21 allegedly protects Noble House’s surcharge practice. [SSUMF Nos. 27.]
                                                    22           The restaurants managed by Noble House in California sell food and beverage
                                                    23 items commercially to the public. [SSUMF Nos. 28.] Noble House is not required by
                                                    24 law to charge the 3.5% surcharge. [SSUMF Nos. 29.]
                                                    25 ///
                                                    26 ///
                                                    27 ///
                                                    28 ///

                                                         MEMO. OF P. & A. IN SUPP. OF PL.’S MOT. FOR PARTIAL SUMMARY JUDGMENT AS TO LIABILITY
                                                         CASE NO.: 3:17-CV-02246-MMA-BLM                        6
                                                    Case 3:17-cv-02246-MMA-BLM Document 69-1 Filed 12/27/18 PageID.1929 Page 18 of 36


                                                         V.      SUMMARY JUDGMENT MAY BE GRANTED AS TO THE
                                                     1
                                                                 CONSUMER LEGAL REMEDIES ACT CLAIM AS A CLASS
                                                     2           ACTION IN FEDERAL COURT
                                                     3           The Court certified this action as a class action pursuant to Fed. R. Civ. P. 23,
                                                     4 not under the separate procedure for a class action under the CLRA’s provision in
                                                     5 Cal. Civ. Code § 1781(a).
                                                     6           California Civil Code § 1781(c) reads in part, “A motion based upon Section
                                                     7 437c of the Code of Civil Procedure shall not be granted in any action commenced
                                                     8 as a class action pursuant to subdivision (a).”1 Moreover, California Civil Code §
                                                     9 1781(a) reads, “Any consumer entitled to bring an action under Section 1780 may,
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                                                    10 if the unlawful method, act, or practice has caused damage to other consumers
                                                    11 similarly situated, bring an action on behalf of himself and such other consumers to
                           Costa Mesa, California




                                                    12 recover damages or obtain other relief as provided for in Section 1780.”
                                                    13           Simply stated, the procedural requirements under California Civil Code §
                                                    14 1781 (including Cal. Civ. Code § 1781(c)) do not apply in this case because the
                                                    15 action is in federal court based on diversity jurisdiction (Dkt. No. 35). See Soto v.
                                                    16 Superior Telcoms., Inc., No. 10cv135-IEG (BLM), 2011 U.S. Dist. LEXIS 145205,
                                                    17 at *22-23 (S.D. Cal. Dec. 15, 2011). The Court may therefore grant summary
                                                    18 judgment as to liability only in this action for the CLRA claim.
                                                    19 VI.       DEFENDANT HAS VIOLATED THE CONSUMER LEGAL
                                                    20           REMEDIES ACT ON A CLASS BASIS AS A MATTER OF LAW
                                                    21           “The CLRA was enacted in an attempt to alleviate social and economic
                                                    22 problems stemming from deceptive business practices, which were identified in the
                                                    23 1969 Report of the National Advisory Commission on Civil Disorders.” Broughton
                                                    24 v. Cigna Healthplans, 21 Cal.4th 1066, 1077 (1999). It proscribes “unfair methods
                                                    25 of competition or deceptive acts or practices” in the sale of goods or services to a
                                                    26
                                                         1
                                                    27   Cal. Code Civ. Proc. § 437(c) concerns the requirements for a motion for
                                                    28 summary  judgment in California State Court.


                                                         MEMO. OF P. & A. IN SUPP. OF PL.’S MOT. FOR PARTIAL SUMMARY JUDGMENT AS TO LIABILITY
                                                         CASE NO.: 3:17-CV-02246-MMA-BLM                        7
                                                    Case 3:17-cv-02246-MMA-BLM Document 69-1 Filed 12/27/18 PageID.1930 Page 19 of 36


                                                         consumer. Cal. Civ. Code § 1770(a). Claims under the CLRA require a showing of
                                                     1
                                                         causation, reliance and damages. Faigman v. AT&T Mobility LLC, 2007 U.S. Dist.
                                                     2
                                                         LEXIS 52192, at *821 (N.D. Cal. 2007).
                                                     3
                                                                 The CLRA allows suits by a “consumer who suffers any damage as a result of
                                                     4
                                                         the use or employment by any person of a method, act, or practice declared to be
                                                     5
                                                     6 unlawful by [the CLRA].” Cal. Civ. Code § 1780. However, “a plaintiff need not
                                                     7 plead fraud.” Marolda v. Symantec Corp., 672 F.Supp.2d 992, 1003 (N.D. Cal.
                                                     8 2009) (citation omitted). Further, the Ninth Circuit Court of Appeals has granted
                                                     9 summary judgment in favor of a plaintiff for claims under the CLRA. See e.g.,
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                                                    10 Gonzales v. CarMax Auto Superstores, LLC, 840 F.3d 644, 655 (9th Cir. 2016)
                                                    11 (granting summary judgment to plaintiff on CLRA and UCL claims).
                           Costa Mesa, California




                                                    12           A.      The Restaurant Menus Did Not Account for the 3.5% Surcharge in
                                                    13                   the Advertised Prices of Food and Drink Items
                                                    14           Noble House’s surcharge practice of charging a 3.5% surcharge on food and
                                                    15 drink items without accounting for the surcharge in the advertised price of the items
                                                    16 in the restaurant menus is per se unlawful under the CLRA, in that it violates Cal.
                                                    17 Civ. Code § 1770(a)(20). Under that provision of the CLRA, it is unlawful to:
                                                    18
                                                                         Advertis[e] that a product is being offered at a specific
                                                    19                   price plus a specific percentage of that price unless (A) the
                                                                         total price is set forth in the advertisement, which may
                                                    20
                                                                         include, but is not limited to, shelf tags, displays, and
                                                    21                   media advertising, in a size larger than any other price in
                                                    22                   that advertisement, and (B) the specific price plus a
                                                                         specific percentage of that price represents a markup from
                                                    23                   the seller’s costs or from the wholesale price of the
                                                    24                   product.

                                                    25           In its menus, Noble House includes a disclosure at the bottom that it will
                                                    26 charge a 3.5% surcharge, but that is not compliant with the CLRA because the
                                                    27 advertised menu items do not indicate the total price of the items when the 3.5%
                                                    28 surcharge is taken into account. In other words, the total price is not set forth in the

                                                         MEMO. OF P. & A. IN SUPP. OF PL.’S MOT. FOR PARTIAL SUMMARY JUDGMENT AS TO LIABILITY
                                                         CASE NO.: 3:17-CV-02246-MMA-BLM                        8
                                                    Case 3:17-cv-02246-MMA-BLM Document 69-1 Filed 12/27/18 PageID.1931 Page 20 of 36



                                                     1 advertised menu prices. See Cal. Civ. Code § 1770(a)(20). Instead, the consumer is
                                                     2 only informed of the dollar amount of the surcharge when she receives her bill.
                                                                                       2
                                                     3 [SSUMF Nos. 2, 3, 5, 10 and 15].
                                                     4           B.      The Restaurant Menu is an Advertisement under the CLRA
                                                     5           The CLRA does not define “advertisement,” but the language of various
                                                     6 sections of the statute clearly indicate a broad construction.
                                                     7           The relevant subsection of the statute expressly contemplates advertisements
                                                     8 such as shelf tags, displays and media advertising. Cal. Civ. Code § 1770(a)(20).
                                                     9 While there is a limited exception from liability in that subsection that is not
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                                                    10 applicable here (concerning in-store advertising by businesses open only to member
                                                    11 or cooperative organizations organized pursuant to Division 3 of the Corporations
                           Costa Mesa, California




                                                    12 Code), the statutory sub-section notably refers to “in-store advertising” (Cal. Civ.
                                                    13 Code § 1770(a)(20)). Moreover, § 1755 of the CLRA refers to media types such as
                                                    14 “newspapers, magazines, broadcast stations, billboards and transit ads” in referring
                                                    15 to the standard to be applied to owners or employees of an advertising medium. Cal.
                                                    16 Civ. Code § 1755. The restaurant menus are akin to a shelf tag or display indicating
                                                    17 the pricing. The menus here indicate to potential customers how much they will be
                                                    18 charged for a food or drink item, but not the price inclusive of a 3.5% surcharge.
                                                    19 [SSUMF No. 3.]
                                                    20           For other consumer protection statutes, the term “advertisement” has been
                                                    21 defined broadly, such as for the Telephone Consumer Protection Act, defining such
                                                    22 word to mean “any material advertising the commercial availability or quality of
                                                    23 any property, goods, or services.” 47 C.F.R. § 64.1200(f)(1). Essentially,
                                                    24
                                                    25
                                                    26
                                                         2
                                                         Noble House intentionally chose not to expressly state the price of the menu items
                                                    27 inclusive of the 3.5% surcharge. [SSUMF No. 2, 3, 5, 6, 7, 9 and 25.] There is no
                                                    28 law requiring Noble House to charge the 3.5% surcharge. [SSUMF No. 29.]

                                                         MEMO. OF P. & A. IN SUPP. OF PL.’S MOT. FOR PARTIAL SUMMARY JUDGMENT AS TO LIABILITY
                                                         CASE NO.: 3:17-CV-02246-MMA-BLM                        9
                                                    Case 3:17-cv-02246-MMA-BLM Document 69-1 Filed 12/27/18 PageID.1932 Page 21 of 36


                                                                  3
                                                     1 advertising is a means of communication with someone about a product or service,
                                                     2 including restaurant menus. See e.g., Dayna B. Royal, The Skinny on the Federal
                                                     3 Menu-Labeling Law & Why it Should Survive a First Amendment Challenge, 10
                                                     4 FIRST AMEND. L. REV. 140, 150-151 (Fall 2011) (“Menus and menu boards are
                                                     5 vehicles through which restaurants propose a commercial transaction - the purchase
                                                     6 of food. Such speech offers food products for specific prices. To assist consumers in
                                                     7 deciding whether to accept such offers, and which offers to accept, menus
                                                     8 and menu boards contain relevant information about the products offered for sale,
                                                     9 including price and basic ingredients.”)
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                                                    10           According to Merriam-Webster online dictionary, the word “advertise” (a
                                                    11 verb) means: “to make something known,” “to make publicly and generally
                           Costa Mesa, California




                                                    12 known,” “to announce publicly …” or “to call public attention to …” (“advertise.”
                                                    13 Merriam-Webster.com,                                2018.                       https://www.merriam-
                                                    14 webster.com/dictionary/advertise (December 4, 2018)). Additionally, according to
                                                    15 Black’s Law Dictionary, the word “advertisement” means “Notice given in a
                                                    16 manner designed to attract public attention,” and gives as an example “information
                                                    17 communicated to the public, or to an individual concerned, by means of handbills or
                                                    18 the newspaper.” [“Advertisement.” The Law Dictionary, featuring Black’s Law
                                                    19 Dictionary              free         online           legal          dictionary,         2nd     ed.
                                                    20 https://thelawdictionary.org/advertisement (November 30, 2018)].
                                                    21           The decision in Faigman is instructive because there the court denied a
                                                    22 motion to dismiss where the plaintiff alleged reliance on misleading in-store notices
                                                    23
                                                    24
                                                    25   3
                                                         See generally, Cortina v. Goya Foods, Inc., 94 F. Supp. 3d 1174, 2015 U.S. Dist.
                                                    26 EXIS 40159 (S.D. Cal. Mar. 19, 2015) (The CLRA was not preempted by federal
                                                       law because consumer protection laws, including laws regulating the proper
                                                    27 marketing of food … were within the states’ historic police powers and therefore
                                                    28 were subject to a presumption against preemption).

                                                         MEMO. OF P. & A. IN SUPP. OF PL.’S MOT. FOR PARTIAL SUMMARY JUDGMENT AS TO LIABILITY
                                                         CASE NO.: 3:17-CV-02246-MMA-BLM                        10
                                                    Case 3:17-cv-02246-MMA-BLM Document 69-1 Filed 12/27/18 PageID.1933 Page 22 of 36



                                                     1 concerning rebates which the court referred to as advertisements. Faigman v. AT&T
                                                     2 Mobility LLC, 2007 U.S. Dist. LEXIS 52192, at *5 (N.D. Cal. July 17, 2007).
                                                     3           Importantly, the CLRA is to be interpreted broadly to protect consumers
                                                     4 because it is a remedial statute. Cal. Civ. Code § 1760 (“This title shall be liberally
                                                     5 construed and applied to promote its underlying purposes, which are to protect
                                                     6 consumers against unfair and deceptive business practices and to provide efficient
                                                     7 and economical procedures to secure such protection.”); see also, Hawthorne v.
                                                     8 Umpqua Bank, No. 11-cv-06700-JST, 2013 U.S. Dist. LEXIS 153697, at *32 (N.D.
                                                     9 Cal. Oct. 25, 2013); Wang v. Massey Chevrolet, 97 Cal. App. 4th 856, 869 (2002).
Kazerouni Law Group, APC




                                                    10           Therefore, the restaurant menus easily constitute advertisements because they
                                                    11 are designed to inform the potential consumer of the availability of products that
                           Costa Mesa, California




                                                    12 may be purchased and the price of those food and beverage items.
                                                    13           C.      The Menu Food and Beverage Items are Products Under the CLRA
                                                    14           The CLRA does not define the word “product,” however, the menu items (food
                                                    15 and drinks) sold by the restaurant are products under this statute.
                                                    16           According to Merriam-Webster online dictionary, the word “product” (a
                                                    17 noun) means: “something produced” or “something (such as a service) that is
                                                    18 marketed or sold as a commodity” [“product.” Merriam-Webster.com, 2018.
                                                    19 https://www.merriam-webster.com/dictionary/product (December 4, 2018)). To
                                                    20 produce (a verb) in turn means “to cause to have existence or to happen,” “to give
                                                    21 being, form or shape” or “to compose, create, or bring out by intellectual or physical
                                                    22 effort…”        (“produced.”        Merriam-Webster.com,             2018.      https://www.merriam-
                                                    23 webster.com/dictionary/product (December 4, 2018)].
                                                    24           The chicken quesadilla, for example, purchased by Ms. Holt, is produced by
                                                    25 the Agua restaurant through employment of skilled laborers, in its finished state, in
                                                    26 a form desired by Ms. Holt (a consumer) who ordered it from the restaurant menu.
                                                    27 [SSUMF Nos. 13-15.] While the chicken quesadilla may not have been mass-
                                                    28 produced for purposes of packing and then shipping to consumers (such as for

                                                         MEMO. OF P. & A. IN SUPP. OF PL.’S MOT. FOR PARTIAL SUMMARY JUDGMENT AS TO LIABILITY
                                                         CASE NO.: 3:17-CV-02246-MMA-BLM                        11
                                                    Case 3:17-cv-02246-MMA-BLM Document 69-1 Filed 12/27/18 PageID.1934 Page 23 of 36



                                                     1 retail), it was prepared by the restaurant to be consumed (SSUMF Nos. 13, 15 and
                                                     2 28), and is created to be sold commercially by the restaurant to its customers
                                                     3 (SSUMF Nos. 1-3, 10, 13-16), whether the consumer dines in or take the purchased
                                                     4 meal to go.
                                                     5           In the case of In re Ferrero Litig., 794 F. Supp. 2d 1107, 1118 (S.D. Cal. June
                                                     6 30, 2011), Judge Marilyn L. Huff denied a Rule 12(b)(6) motion to dismiss a CLRA
                                                     7 claim involving alleged misrepresentations concerning a food spread (i.e., Nutella),
                                                     8 showing that the CLRA applies to food products. Although the Nutella product was
                                                     9 apparently prepared for retail sale, there is no principled reason to limit the
Kazerouni Law Group, APC




                                                    10 application of the CLRA to items intended for retail sale, to the exclusion of
                                                    11 restaurants and other establishments who prepare and sale food products (such as
                           Costa Mesa, California




                                                    12 baked goods). See e.g., Reilly v. Inquest Technology, Inc., 218 Cal.App.4th 536, 550
                                                    13 (2013) (declining to read words into the Independent Wholesale Sales
                                                    14 Representatives Contractual Relations Act of 1990 to limit application of “product”
                                                    15 to only a finished retail product or consumer good, where that statute referred only
                                                                                                                         4
                                                    16 to “a product tangible or intangible,” Cal. Civ. Code § 1738.12).
                                                    17           On occasion, defendants in CLRA cases have attempt to limit the application
                                                    18 of the statute to only certain products, as in Bogart. However, the Bogart Court held
                                                    19 that “pharmaceutical products” were covered by the CLRA, reasoning that “[t]he
                                                    20 CLRA was created to protect consumers from unfair and deceptive business
                                                    21 practices,” and “[i]n liberally construing the CLRA, as California case law requires,
                                                    22 the Court finds that birth control pills are tangible chattels bought primarily for
                                                    23 personal use. As such, birth control pills are goods which fall within the CLRA’s
                                                    24
                                                    25   4
                                                         See Fairbanks v. Superior Court, 46 Cal.4th 56, 65 (2009) (noting “legislative
                                                    26 intent in limiting the definition of ‘goods’ to include only ‘tangible chattels’”).
                                                    27 “The ‘tangible chattels’ language in the CLRA's definitions dates from 1970.”
                                                       Haskins v. Symantec Corp., No. 13-cv-01834-JST, 2013 U.S. Dist. LEXIS 169865,
                                                    28 at *28 (N.D. Cal. Dec. 1, 2013), citing Stats.1970, Ch. 1550, § 1.

                                                         MEMO. OF P. & A. IN SUPP. OF PL.’S MOT. FOR PARTIAL SUMMARY JUDGMENT AS TO LIABILITY
                                                         CASE NO.: 3:17-CV-02246-MMA-BLM                        12
                                                    Case 3:17-cv-02246-MMA-BLM Document 69-1 Filed 12/27/18 PageID.1935 Page 24 of 36



                                                     1 protections.” Bogart v. Glenmark Generics, Inc., No. 14-CV-778 LAB DHB, 2014
                                                     2 U.S. Dist. LEXIS 158055, at *7-8 (S.D. Cal. Nov. 5, 2014).
                                                     3           In ruling that pharmaceutical products were covered by the CLRA under
                                                                                                                                     5
                                                     4 Sections 1770(4) and (7), the Bogart Court looked to the defined term “goods”
                                                                                  6
                                                     5 (Cal. Civ. Code § 1761(a)). Section 1770(20) refers to “products,” not “goods,”
                                                     6 however, if this Court were to look to the defined term “goods” in ruling on whether
                                                     7 the restaurant food and drink items are “products” under the CLRA, the food items
                                                     8 such as the chicken quesadilla were purchased by Ms. Holt primarily for personal
                                                     9 use while dining at the Acqua restaurant where Ms. Holt consumed the food
Kazerouni Law Group, APC




                                                    10 (SSUMD Nos. 13-15), and are therefore goods. As explained above, the CLRA is to
                                                    11 be interpreted broadly to protect consumers, which further supports a finding that the
                           Costa Mesa, California




                                                    12 food and drink items purchased from the restaurant by Ms. Holt and the Class
                                                    13 Members are products under the CLRA.
                                                    14           The food and beverages at the restaurants managed by Noble House are
                                                                               7
                                                    15 surely tangible chattels because they can be touched, smelled and tasted. See e.g.,
                                                    16 Wixon v. Wyndham Resort Dev. Corp., No. C 07-02361 JSW, 2008 U.S. Dist.
                                                    17 LEXIS 120062, at *14 (N.D. Cal. Apr. 18, 2008) (finding that timeshare points are
                                                    18 neither goods nor services because they could not be touched, seen, or smelled).
                                                    19
                                                         5
                                                    20  The CLRA frequently refers to “good” or “goods”. See e.g., Cal. Civ. Code §
                                                    21 1770(a)(1), (2), (4), (5), (6), (7), (8), (9), (10), (21). The CLRA also refers to the
                                                       undefined term “product” in four places. Cal. Civ. Code § 1770(a)(20), (25), (26)
                                                    22 and (27).
                                                    23   6
                                                         The CLRA defines “goods” as “tangible chattels bought or leased for use primarily
                                                    24 for personal, family, or household purposes, including certificates or coupons
                                                       exchangeable for these goods, and including goods that, at the time of the sale or
                                                    25 subsequently, are to be so affixed to real property as to become a part of real
                                                    26 property, whether or not they are severable from the real property.” Cal. Civ. Code §
                                                       1761(a).
                                                    27 7
                                                         In general, “‘tangible property’ refers to things that can be touched, seen, and
                                                    28 smelled.” Kazi v. State Farm Fire & Cas. Co., 24 Cal. 4th 871, 880 (2001).

                                                         MEMO. OF P. & A. IN SUPP. OF PL.’S MOT. FOR PARTIAL SUMMARY JUDGMENT AS TO LIABILITY
                                                         CASE NO.: 3:17-CV-02246-MMA-BLM                        13
                                                    Case 3:17-cv-02246-MMA-BLM Document 69-1 Filed 12/27/18 PageID.1936 Page 25 of 36



                                                     1 Moreover, the Haskins Court counseled against a limited definition of tangible
                                                     2 chattels. Haskins v. Symantec Corp., 2013 U.S. Dist. LEXIS 169865, at *30 (N.D.
                                                     3 Cal. Dec. 1, 2013) (“But by slicing things that thinly, many of even the most
                                                     4 tangible of commodities could be characterized as delivery mechanisms for the
                                                     5 transmission of intangible things. No one would seriously dispute that a book is a
                                                     6 ‘tangible chattel,’ despite the fact that the physical object itself is merely a delivery
                                                     7 mechanism for the transmission of information.”)
                                                     8           Lastly, in a prior ruling in this action, this Court has noted that “Noble House
                                                     9 further asserts that the surcharge does not violate the CLRA because it ‘is not an
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                                                    10 addition to the price of the ‘product’ (i.e., the food or beverage), as the statute
                                                    11 prohibits; rather it is a separate charge for service.’” Holt v. Noble House Hotels &
                           Costa Mesa, California




                                                    12 Resort, Ltd., No. 17cv2246-MMA (BLM), 2018 U.S. Dist. LEXIS 10955, at *12
                                                    13 (S.D. Cal. Jan. 23, 2018). Thus, even Noble House has referred to the food and
                                                    14 beverages as “product[s]”. Dkt. No. 6-1, 7:20-23.
                                                    15           Consequently, the purchased food and beverage items ordered from the
                                                    16 restaurant menus constitute products for purposes of § 1770(20) of the CLRA.
                                                    17           D.      The Causation and Reliance Requirements are Satisfied
                                                    18           The CLRA prohibits advertising that is false as well as advertising that is true
                                                    19 but “is either actually misleading … or has a capacity, likelihood or tendency to
                                                    20 deceive or confuse the public.” Kasky v. Nike, Inc., 27 Cal.4th 939, 951 (2002).
                                                    21           In the case of Ms. Holt, a surcharge of $1.38 was added to her bill after she
                                                    22 ordered a chicken quesadilla from the menu (for $16) at the Acqua restaurant, having
                                                    23 relied on the advertised menu pricing (SSUMF Nos. 12-15). Ms. Holt, as the named
                                                    24 Plaintiff and Class Representative, therefore actually relied on the pricing in the menu
                                                    25 for her order. See Nelson v. Pearson Ford Co., 186 Cal. App. 4th 983, 1022
                                                    26 (2010) (“Under the CLRA, plaintiffs must show actual reliance on the
                                                    27 misrepresentation and harm.”) As it concerns the dollar amount of the surcharge
                                                    28 imposed on the members of the restitution class (under Fed. R. Civ. P. 23(b)(3)), that

                                                         MEMO. OF P. & A. IN SUPP. OF PL.’S MOT. FOR PARTIAL SUMMARY JUDGMENT AS TO LIABILITY
                                                         CASE NO.: 3:17-CV-02246-MMA-BLM                        14
                                                    Case 3:17-cv-02246-MMA-BLM Document 69-1 Filed 12/27/18 PageID.1937 Page 26 of 36



                                                     1 information can be determined at a future date from the credit card receipts (SSUMF
                                                     2 No. 11) and other records of Noble House such as their profit and loss statement
                                                     3 (SSUMF No. 16). Noble House has admitted that it has increased its revenue by over
                                                     4 $200,000 from the surcharge practice through June 4, 2018 (SSUMF No. 16).
                                                     5           In practice, the CLRA does not carry a reliance requirement on a class basis
                                                     6 because the materiality of the representations at issue is presumed to give rise to an
                                                     7 inference of reliance. See Keegan v. American Honda Motor Co., Inc., 284 F.R.D.
                                                     8 504, 541 (C.D. Cal. 2012), citing In re Tobacco II Cases, 46 Cal.4th 298, 327
                                                     9 (2009) (actual reliance is presumed, or at least inferred, when the omission is
Kazerouni Law Group, APC




                                                    10 material); Mass. Mutual Life Ins. Co. v. Superior Court, 97 Cal. App. 4th 1282,
                                                    11 1292 (2002) (discussing how the existence of a material representation would give
                           Costa Mesa, California




                                                    12 rise to an inference of reliance on a class-wide basis); Arring v. Golden Gate Univ.,
                                                    13 2014 Cal. Super. LEXIS 3761, at *19 (2014) (discussing class requirements under
                                                    14 CLRA, which similarly do not require a proof of reliance of every consumer). See
                                                    15 also, Security Pac. Nat. Bank v. Associated Motor Sales, 106 Cal. App. 3d 171, 179-
                                                    16 180 (1989) (presumption which shifts the burden of proving evidence entitles
                                                    17 plaintiff to summary judgment if defendant fails to produce evidence to rebut the
                                                    18 presumption).
                                                    19           Here, reliance as to the Class Member is presumed in this CLRA action
                                                    20 because Defendant’s failure to state the true (total) price of the menu items is
                                                    21 material. Materiality is determined by an objective test: “a misrepresentation is
                                                    22 deemed material if ‘a reasonable man’ would attach importance to its existence or
                                                    23 nonexistence in determining his choice of action in the transaction in question.” In
                                                    24 re Steroid Hormone Prod. Cases, 181 Cal. App. 4th 145, 157, 104 Cal. Rptr. 3d 329
                                                    25 (2010) (quoting Engalla v. Permanente Medical Group, Inc., 15 Cal.4th 951, 977
                                                    26 (1997) (internal quotation marks omitted)); see also, McCrary v. Elations Co., LLC,
                                                    27 2014 U.S. Dist. LEXIS 8443, at *14 (C.D. Cal. Jan. 13, 2014) (court found in
                                                    28 UCL/CLRA case that “the determination of materiality, and thus reliance, is

                                                         MEMO. OF P. & A. IN SUPP. OF PL.’S MOT. FOR PARTIAL SUMMARY JUDGMENT AS TO LIABILITY
                                                         CASE NO.: 3:17-CV-02246-MMA-BLM                        15
                                                    Case 3:17-cv-02246-MMA-BLM Document 69-1 Filed 12/27/18 PageID.1938 Page 27 of 36



                                                     1 determined using objective criteria that apply to the entire class and do not require
                                                     2 individualized determination”).
                                                     3           In Hinojos v. Kohl's Corp., 718 F.3d 1098, 1107 (9th Cir. 2013), the Ninth
                                                     4 Circuit of Appeals, in stating that “price advertisements matter,” explained that
                                                     5 “[a]pplying Kwikset in a straightforward manner, we hold that when a consumer
                                                     6 purchases merchandise on the basis of false price information, and when the
                                                     7 consumer alleges that he would not have made the purchase but for the
                                                     8 misrepresentation, he has standing to sue under the UCL and FAL because he has
                                                     9 suffered an economic injury.” The Court then went on state that “[t]he district
Kazerouni Law Group, APC




                                                    10 court’s conclusion that Hinojos failed to establish standing under the CLRA because
                                                    11 he did not suffer ‘any damage’ is erroneous for the same reasons that its
                           Costa Mesa, California




                                                    12 determinations regarding UCL and FAL standing were wrong.” Id. at 1108.
                                                    13           Moreover, “[u]nder California law, class members in CLRA and UCL
                                                    14 actions are not required to prove their individual reliance on the allegedly
                                                    15 misleading statements. Instead, the standard in actions under both the CLRA and
                                                    16 UCL is whether ‘members of the public are likely to be deceived.’” Bradach v.
                                                    17 Pharmavite, LLC, 735 F.App'x 251, 254 (9th Cir. 2018); quoting Kasky v. Nike,
                                                    18 Inc., 27 Cal. 4th at 951 (2002), as modified (May 22, 2002).
                                                    19           In the present action, reasonable members of the public were likely deceived,
                                                    20 in that before February of 2017, Noble House did not have a practice to charge a
                                                    21 surcharge for food or drink items (SSUMF No. 9). Furthermore, reasonable
                                                    22 members of the public would have attached importance to the advertised price of the
                                                    23 menu items at the restaurants managed by Noble House, which menus here
                                                    24 admittedly did not account for the increase that would be applied from a 3.5%
                                                    25 surcharge (SSUMF Nos. 3-10).
                                                    26           The actual price of the menus items ordered is unquestionably material. See
                                                    27 Berger v. Home Depot USA, Inc., 741 F.3d 1061, 1070 (9th Cir. 2014), abrogated
                                                    28 on other grounds by Microsoft Corp. v. Baker, 137 S. Ct. 1702, 198 L. Ed. 2d 132

                                                         MEMO. OF P. & A. IN SUPP. OF PL.’S MOT. FOR PARTIAL SUMMARY JUDGMENT AS TO LIABILITY
                                                         CASE NO.: 3:17-CV-02246-MMA-BLM                        16
                                                    Case 3:17-cv-02246-MMA-BLM Document 69-1 Filed 12/27/18 PageID.1939 Page 28 of 36



                                                     1 (2017) (finding materiality not at stake under the CLRA because “the price of [the
                                                     2 item is] an undeniably material term”); see also, Brockey v. Moore, 107 Cal.App.4th
                                                     3 86, 100 (2003) (affirming that “the primary evidence in a false advertising case is
                                                     4 the advertising itself”). Noble House did not want to increase its advertised prices
                                                     5 for fear of negative customer reactions, which is why Noble House decided to
                                                                                                      8
                                                     6 provide a disclosure at the bottom of the menus rather than clearly and expressly
                                                     7 stating the higher pricing for the food and drink items (SSUMF Nos. 3-10).
                                                     8           Lastly, notwithstanding the disclosure at the bottom of the restaurant menus,
                                                     9 the surcharge practice of Noble House is a per se violation of the CLRA because the
Kazerouni Law Group, APC




                                                    10 total price of the menu items was not actually advertised as required. See Cal. Civ.
                                                    11 Code § 1770(a)(20), requiring “the total price is set forth in the advertisement”
                           Costa Mesa, California




                                                    12 (emphasis added). Essentially, the California legislature considered the failure to
                                                    13 state the total price in the advertising in such circumstances to be deceptive or
                                                    14 confusing, because as the statute is written, a mere disclosure under this statute is
                                                    15 insufficient without the consumer also being informed of the total price in a larger
                                                    16 size font.
                                                    17           Therefore, the reliance (materiality) and causation requirements under the
                                                    18 CLRA are satisfied.
                                                    19           E. Noble House Did Not Comply with Plaintiff’s Demand Pursuant to Cal.
                                                    20              Civ. Code § 1782
                                                    21           Noble House did not comply with Plaintiff’s notice under Cal. Civ. Code §
                                                    22 1782, dated August 23, 2017, as Noble House did not discontinue its illegal
                                                    23 surcharge practice or correct it menus. [SSUMF Nos. 20-22.] See, Answer to FAC,
                                                    24 ¶ 91 (Dkt. No. 37) (Noble House has admitting the CLRA notice was served).
                                                    25
                                                         8
                                                        Noble House has admitted that the surcharge disclosure was the same font size
                                                    26
                                                       and as the menu pricing. Dkt. No. 50, 2:17-23 (Def.’s Opp. to Mtn for Class Cert).
                                                    27 Under the CLRA, the advertised total price is supposed to be in larger print than
                                                    28 other representations concerning the pricing information. See Cal. Civ. Code §
                                                       1770(a)(20), stating, “in a size larger than any other price in that advertisement…”
                                                         MEMO. OF P. & A. IN SUPP. OF PL.’S MOT. FOR PARTIAL SUMMARY JUDGMENT AS TO LIABILITY
                                                         CASE NO.: 3:17-CV-02246-MMA-BLM                        17
                                                    Case 3:17-cv-02246-MMA-BLM Document 69-1 Filed 12/27/18 PageID.1940 Page 29 of 36



                                                     1 VII. DEFENDANT IS NOT ENTITLED TO AN AFFIRMATIVE DEFENSE
                                                     2           Noble House has asserted twenty-one affirmative defenses in its Answer to
                                                     3 the First Amended Complaint, none of which is applicable here. Dkt. No. 37. Also,
                                                     4 after Noble House did not oppose Plaintiff’s Motion for Judgment on the Pleadings
                                                     5 Re: Defendant’s Affirmative Defenses (Dkt. No. 65), the Court ruled that
                                                     6 Defendant’s fifth, eighth, ninth, sixteenth and twenty-first affirmative defenses be
                                                     7 dismissed with prejudice (Dkt. No. 66). Therefore, the Fifth, Eighth, Ninth,
                                                     8 Sixteenth and Twenty-First Affirmative defense have been dismissed with
                                                     9 prejudice.
Kazerouni Law Group, APC




                                                    10           Importantly, Noble House bears the burden of proof for its asserted
                                                    11 affirmative defense. See e.g., Clark v. Capital Credit & Collection Servs., 460 F.3d
                           Costa Mesa, California




                                                    12 1162, 1177 (9th Cir. 2006) (noting that a defendant bears the burden of proof at
                                                    13 summary judgment with respect to affirmative defenses); c.f. Digital Control Inc. v.
                                                    14 McLaughlin Mfg. Co., Inc., 248 F. Supp. 2d 1019, 1023-24 (W.D. Wash.
                                                    15 2003) (“Since the affirmative defense of obviousness is Defendant's burden, by
                                                    16 failing to challenge the issue on summary judgment, Defendant fails to raise a
                                                    17 genuine issue of material fact.”); Green v. Sherman, No. 1:15-cv-01548-LJO-MJS
                                                    18 (PC), 2018 U.S. Dist. LEXIS 15964, at *4 (E.D. Cal. Jan. 31, 2018) (“Thus, it is
                                                    19 the Defendant's burden to prove that Plaintiff has not exhausted his administrative
                                                    20 remedies.”).
                                                    21           A.      First Affirmative Defense
                                                    22           The Court has already denied Defendant’s motion to dismiss pursuant to Fed.
                                                    23 R. Civ. P. 12(b)(6) on January 23, 2018. Dkt. No. 14. Noble House has violated the
                                                    24 CLRA as a matter of law, as explained above. But more importantly, failure to state
                                                    25 a cause of action is not a proper affirmative defense. See Consumer Fin. Prot.
                                                    26 Bureau v. Glob. Fin. Support, Inc., 2016 U.S. Dist. LEXIS 22644, at *14-15 (S.D.
                                                    27 Cal. Feb. 24, 2016) (striking defendant’s affirmative defense which alleged that
                                                    28 plaintiff’s complaint failed to state a claim upon which relief can be granted because

                                                         MEMO. OF P. & A. IN SUPP. OF PL.’S MOT. FOR PARTIAL SUMMARY JUDGMENT AS TO LIABILITY
                                                         CASE NO.: 3:17-CV-02246-MMA-BLM                        18
                                                    Case 3:17-cv-02246-MMA-BLM Document 69-1 Filed 12/27/18 PageID.1941 Page 30 of 36



                                                     1 “failure to state a claim under Rule 12(b)(6) is properly brought on a motion to
                                                     2 dismiss and not as an affirmative defense”); ABC Distrib. v. Living Essentials LLC,
                                                     3 No. 15-cv-02064 NC, 2016 U.S. Dist. LEXIS 185992, at *5 (N.D. Cal. Apr. 26,
                                                     4 2016) (holding that “failure to state a claim” “is not an affirmative defense”).
                                                     5           B.      Second Affirmative Defense
                                                     6           Defendant asserted, without factual support, a defense of waiver and estoppel.
                                                     7 With regard to the waiver defense, “‘waiver’ means the intentional relinquishment
                                                     8 or abandonment of a known right.” Bickel v. City of Piedmont, 16 Cal.4th 1040,
                                                     9 1048 (1997); see also, Waller v. Truck Ins. Exchange, Inc., 11 Cal.4th 1, 31
Kazerouni Law Group, APC




                                                    10 (1995). Waiver requires an existing right, the waiving party's knowledge of that
                                                    11 right, and the party's “actual intention to relinquish the right.” (Bickel, at p. 1053.)
                           Costa Mesa, California




                                                    12 “‘Waiver always rests upon intent.’” City of Ukiah v. Fones, 64 Cal.2d 104, 107
                                                    13 (1996). The intention may be express, based on the waiving party's words, or
                                                    14 implied, based on conduct that is “‘so inconsistent with an intent to enforce the right
                                                    15 as to induce a reasonable belief that such right has been relinquished.’” Savaglio v.
                                                    16 Wal-Mart Stores, Inc., 149 Cal.App.4th 588, 598 (2007); Waller, at *33–34.
                                                    17           Estoppel requires the following factors: 1) plaintiff knew the facts; 2)
                                                    18 defendant did not know the facts; 3) plaintiff intended that the defendant act upon
                                                    19 her conduct or defendant had a right to believe it was so intended; and 4) defendant
                                                    20 relied upon the conduct to its injury. TRW, Inc. v. FTC, 647 F.2d 942, 950-51 (9th
                                                    21 Cir. 1981); Kieffer v. Spencer, 153 Cal. App. 3d 954, 963 (1984).
                                                    22           Defendant has produced no evidence that Plaintiff or the Class Members
                                                    23 knowingly and voluntarily waived their CLRA claims against Defendant (SSUMF
                                                    24 No. 24) and Ms. Holt did not waive her claims (SSUMF No. 23). See e.g., Rodman
                                                    25 v. Safeway Inc., 125 F. Supp. 3d 922, 941 (N.D. Cal. 2015) (finding no evidence of
                                                    26 waiver in the summary judgment record).
                                                    27
                                                    28

                                                         MEMO. OF P. & A. IN SUPP. OF PL.’S MOT. FOR PARTIAL SUMMARY JUDGMENT AS TO LIABILITY
                                                         CASE NO.: 3:17-CV-02246-MMA-BLM                        19
                                                    Case 3:17-cv-02246-MMA-BLM Document 69-1 Filed 12/27/18 PageID.1942 Page 31 of 36



                                                     1
                                                     2           The estoppel defense 9 simply could not apply because Noble House was
                                                     3 clearly aware of its intentional surcharge practice. [SSUMF No. 2, 3, 5, 6, and 25].
                                                     4 Moreover, Ms. Holt has testified that she was unaware of the surcharge practice at
                                                     5 the Acqua restaurant until she received her bill after eating her meal on August 6,
                                                     6 2017. [SSUMF No. 15.] Such defenses of waiver and estoppel are without merit.
                                                     7           C.      Third Affirmative Defense
                                                     8           The Court has already determined that Ms. Holt has Article III standing to
                                                     9 pursue her CLRA claim. Dkt. No. 63. [SSUMF Nos. 2-18]. Ms. Holt also has
Kazerouni Law Group, APC




                                                    10 statutory standing under the CLRA, as the requirements for a CLRA claim are met,
                                                    11 as explained above. [SSUMF Nos. 13-15]. See also, Ries v. Ariz. Bevs. USA LLC,
                           Costa Mesa, California




                                                    12 287 F.R.D. 523, 530 (N.D. Cal. 2012) (finding standing where the plaintiffs
                                                    13 specifically recalled the misleading advertising claim and indicated it was material
                                                    14 to their purchase).
                                                    15           Moreover, asserting lack of standing is not an affirmative defense. ABC
                                                    16 Distrib. v. Living Essentials LLC, 2016 U.S. Dist. LEXIS 185992, at *6 (In referring
                                                    17 to an assertion of lack of standing, the Court held that, “[t]his is not an affirmative
                                                    18 defense, so the motion to strike is granted without leave to amend.”) Therefore, this
                                                    19 attempt at an affirmative defense has no merit.
                                                    20           D.      Fourth Affirmative Defense
                                                    21           The Fourth Affirmative Defense appears to be directed towards the § 17200
                                                    22 claims, specifically the unfair prong, but this motion does not seek partial summary
                                                    23 judgment as to the UCL claim. It is also not a true affirmative defense with regard
                                                    24 to any of the claims asserted by Plaintiff individually and on a class basis under the
                                                    25 CLRA or the UCL. See e.g., Sims v. Peak Legal Advocates, No. SACV 18-1199
                                                    26   9
                                                        Interestingly, the Ninth Circuit has found the affirmative defense of estoppel to be
                                                    27 adequately pled only where the defendant had “allege[d] all the elements.” Allen v.
                                                    28 A.H. Robins Co., Inc., 752 F.2d 1365, 1371 n. 3 (9th Cir.1985).

                                                         MEMO. OF P. & A. IN SUPP. OF PL.’S MOT. FOR PARTIAL SUMMARY JUDGMENT AS TO LIABILITY
                                                         CASE NO.: 3:17-CV-02246-MMA-BLM                        20
                                                    Case 3:17-cv-02246-MMA-BLM Document 69-1 Filed 12/27/18 PageID.1943 Page 32 of 36



                                                     1 JVS (KESx), 2018 U.S. Dist. LEXIS 196245, at *5 (C.D. Cal. Nov. 16, 2018)
                                                     2 (finding asserted defense that plaintiff was not entitled to punitive damages not to be
                                                     3 an affirmative defense but rather an assertion that the plaintiff has not proved an
                                                     4 essential element of her claim). It is merely redundant of other denials that the
                                                     5 surcharge practice is unfair or that affected persons are not likely to be deceived.
                                                     6 See ABC Distrib., 2016 U.S. Dist. LEXIS 185992, at *5-6. Dkt. No. 37, ¶¶ 1-3, 8,
                                                     7 14, 25, 35, and 43.
                                                     8           E.      Sixth Affirmative Defense
                                                     9           Defendant’s surcharge practice was the actual and proximate cause of the
Kazerouni Law Group, APC




                                                    10 harm to Ms. Holt and the Class Members, as explained above when discussing
                                                    11 causation under the CLRA. [SSUMF Nos. 13-18.] It is also not a true affirmative
                           Costa Mesa, California




                                                    12 defense with regard to any of the claims asserted by Plaintiff individually and on a
                                                    13 class basis under the CLRA or the UCL because it merely denies that Plaintiff has
                                                    14 satisfied an element of her claims. See e.g., Sims, 2018 U.S. Dist. LEXIS 196245, at
                                                    15 *5; see also, ABC Distrib., 2016 U.S. Dist. LEXIS 185992, at *6.
                                                    16           F.      Seventh Affirmative Defense
                                                    17           Defendant has no evidence to support a defense of unclean hands with regard
                                                    18 to Ms. Holt and the Class Members as to their CLRA claims against Defendant. Ms.
                                                    19 Holt has testified that she was unaware of the surcharge practice at the Acqua
                                                    20 restaurant until she received her bill after the meal on August 6, 2017. [SSUMF No.
                                                    21 15.] Additionally, an unclean hands defense is inapplicable to violations of the
                                                    22 CLRA. Unclean hands is an equitable doctrine. See, e.g., Ellenburg v. Brockway,
                                                    23 Inc., 763 F.2d 1091, 1097 (9th Cir. 1985). Just as the unclean hands defense is
                                                    24 inapplicable to statutes such as the FDCPA (regulating debt collectors), it is also
                                                    25 inapplicable to the CLRA (regulating sellers). See generally, Nyberg v. Portfolio
                                                    26 Recovery Assocs., LLC, No. 3:15-cv-01175-PK, 2016 U.S. Dist. LEXIS 71897, at
                                                    27 *16 (D.Or. June 2, 2016). Ms. Holt’s intentions in bringing the lawsuit are wholly
                                                    28 irrelevant to the questions of whether Noble House violated the CLRA per se by

                                                         MEMO. OF P. & A. IN SUPP. OF PL.’S MOT. FOR PARTIAL SUMMARY JUDGMENT AS TO LIABILITY
                                                         CASE NO.: 3:17-CV-02246-MMA-BLM                        21
                                                    Case 3:17-cv-02246-MMA-BLM Document 69-1 Filed 12/27/18 PageID.1944 Page 33 of 36



                                                     1 failing to states the total price of the menu items inclusive of the surcharge – in
                                                     2 other words, whether Noble House is liable to Plaintiff and the Classes for damages.
                                                     3 See generally, McCabe v. Crawford & Co., 272 F.Supp.2d 736, 749 (N.D. Ill. 2003)
                                                     4 (“Whatever McCabe's intentions might have been in bringing this lawsuit, they are
                                                     5 irrelevant in determining whether Crawford is liable for violating the FDCPA.”).
                                                     6           G.      Tenth Affirmative Defense
                                                     7           This defense is without merit because Noble House is the entity responsible
                                                     8 for the surcharge practice and has obtained money from Ms. Holt and the Class
                                                     9 Members from such practice. [SSUMF Nos. 1-18.]
Kazerouni Law Group, APC




                                                    10           H.      Eleventh Affirmative Defense
                                                    11           This defense is without merit because Noble House is the entity responsible
                           Costa Mesa, California




                                                    12 for the intentional implementation of the surcharge practice following an increase in
                                                    13 the minimum wage (SSUMF No. 1-17), and has obtained money from Ms. Holt and
                                                    14 the Class Members from such practice (SSUMF Nos. 11-16).
                                                    15           I.      Twelfth Affirmative Defense
                                                    16           The Court has already certified this action as a class action under the CLRA
                                                    17 under Fed. R. Civ. P. 23(b)(2) and (b)(3). [Dkt. No. 63.] Noble House has not
                                                    18 obtained decertification, or even moved for decertification. Additionally, this action
                                                    19 is pending in federal court, and the purported defense by Noble House cites the
                                                    20 inapplicable statute for class certification under California state law.
                                                    21           More importantly, denying the requirements of class certification are met is
                                                    22 not a true affirmative defense and is merely redundant of class treatment denials
                                                    23 (Dkt. No. 37, ¶¶ 93-104). See Gomez v. J. Jacobo Farm Labor Contr., Inc., 188 F.
                                                    24 Supp. 3d 986, 1003-1004 (E.D. Cal. 2016) (“Because it is clear from Bedrosian's
                                                    25 argument that those defenses are redundant of Bedrosian's other denials and not
                                                    26 properly raised as affirmative defenses, the remainder of Bedrosian’s twenty-second
                                                    27 and twenty-fifth affirmative defenses will be stricken with prejudice.”); see also,
                                                    28 ABC Distrib., 2016 U.S. Dist. LEXIS 185992, at *7 (holding that class certification

                                                         MEMO. OF P. & A. IN SUPP. OF PL.’S MOT. FOR PARTIAL SUMMARY JUDGMENT AS TO LIABILITY
                                                         CASE NO.: 3:17-CV-02246-MMA-BLM                        22
                                                    Case 3:17-cv-02246-MMA-BLM Document 69-1 Filed 12/27/18 PageID.1945 Page 34 of 36



                                                     1 denials are not an affirmative defense). Thus, this purported defense thus presents
                                                     2 no impediment to granting partial summary judgment as to liability only.
                                                     3           J.      Thirteenth, Fourteenth, Fifteenth Affirmative Defenses
                                                     4           These defenses fail for the same reason the Twelfth Affirmative Defense is
                                                     5 not an affirmative defense. See ABC Distrib., 2016 U.S. Dist. LEXIS 185992, at *7.
                                                     6           K.      Seventeenth Affirmative Defense
                                                     7           The Court has already certified this action as a class action under the CLRA
                                                     8 under Fed. R. Civ. P. 23(b)(2) and (b)(3). [Dkt. No. 63.] See ABC Distrib., 2016
                                                     9 U.S. Dist. LEXIS 185992, at *7. Also, Ms. Holt and the Class Members have lost
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                                                    10 money as a result of Defendant’s surcharge practice. [SSUMF Nos. 11-17.]
                                                    11           L.      Eighteenth Affirmative Defense
                           Costa Mesa, California




                                                    12           There is nothing to suggest that the claims of Ms. Holt or the Class Members
                                                    13 are somehow barred by the doctrine of after-acquired evidence. Additionally, this
                                                    14 motion seeking partial summary judgment as to liability only, meaning that the
                                                    15 damages issue is to be determined at a later time.
                                                    16           M.      Nineteenth Affirmative Defense
                                                    17           Plaintiff does not seek punitive damages under Cal. Civ. Code § 3294 with
                                                    18 respect to the CLRA claims. The First Amended Complaint seeks, and the CLRA
                                                    19 expressly provides for, punitive damages in Cal. Civ. Code § 1770(a). Dkt. No. 29-
                                                    20 4, p. 20. In any event, this motion is limited to liability, with the question of
                                                    21 damages to be determined at a later date. Also, this is not a true affirmative defense
                                                    22 because it does not go to the issue of liability but rather the extent of damages. See
                                                    23 e.g., Sims, 2018 U.S. Dist. LEXIS 196245, at *5 (finding asserted defense that
                                                    24 plaintiff was not entitled to punitive damages not to be an affirmative defense but
                                                    25 rather an assertion that the plaintiff has not proved an essential element of her
                                                    26 claim); see also, Gomez, 188 F. Supp. 3d at 1004; ABC Distrib., 2016 U.S. Dist.
                                                    27 LEXIS 185992, at *7.
                                                    28 ///

                                                         MEMO. OF P. & A. IN SUPP. OF PL.’S MOT. FOR PARTIAL SUMMARY JUDGMENT AS TO LIABILITY
                                                         CASE NO.: 3:17-CV-02246-MMA-BLM                        23
                                                    Case 3:17-cv-02246-MMA-BLM Document 69-1 Filed 12/27/18 PageID.1946 Page 35 of 36



                                                     1           N.      Twentieth Affirmative Defense
                                                     2           There is no evidence that Defendant has served the required notice of
                                                     3 constitutional challenge pursuant to Fed. R. Civ. P., Rule 5.1. This Rule requires, in
                                                     4 part, that a party challenging the constitutionality of a federal or state statute in a
                                                     5 suit that does not include governmental parties must (1) “file a notice of
                                                     6 constitutional question stating the question and identifying the paper that raises it”
                                                     7 and (2) “serve the notice and paper on the Attorney General of the United States
                                                     8 either by certified or registered mail or by sending it to an electronic address
                                                     9 designated by the attorney general for this purpose.” Fed. R. Civ. P. 5.1(a).
Kazerouni Law Group, APC




                                                    10 Defendant has not complied with this rule and therefore may not challenge the
                                                    11 constitutionality of the CLRA.
                           Costa Mesa, California




                                                    12           Noble House should not be permitted to bring a constitutional challenge after
                                                    13 failing to comply with Rule 5.1 for more than six months, showing lack of
                                                    14 diligence. See Ballentine v. Las Vegas Metro. Police Dep't, No. 2:14-cv-01584-
                                                    15 APG-GWF, 2017 U.S. Dist. LEXIS 133777, at *21 (D. Nev. Aug. 21, 2017). The
                                                    16 Answer to the First Amended Complaint was filed May 14, 2018 (Dkt. No. 37).
                                                    17           Lastly, Defendant has waived the defense by not specifying the constitutional
                                                    18 violation and only vaguely asserting that “Noble House’s actions were privileged
                                                    19 under and/or protected by the United States and California Constitution” (Dkt. No.
                                                    20 37, p. 14, ¶ 20), which is another way of saying the CLRA violates unspecified
                                                    21 constitutional rights. See generally, Lazar v. Kroncke, 862 F.3d 1186, 1202 (9th Cir.
                                                    22 2017) (finding a Dormant Commerce Clause challenge waived for lack of
                                                    23 specificity). The deadline to amend the pleading passed many months ago on April
                                                    24 13, 2018. [Dkt. No. 22, ¶ 2.]
                                                    25 VIII. CONCLUSION
                                                    26        In conclusion, there is no dispute of material fact as to Noble’s House’s
                                                    27 illegal surcharge practice in California on a class-wide basis, and furthermore, such
                                                    28 surcharge practice violates the CLRA as a matter of law. Noble House is not entitled

                                                         MEMO. OF P. & A. IN SUPP. OF PL.’S MOT. FOR PARTIAL SUMMARY JUDGMENT AS TO LIABILITY
                                                         CASE NO.: 3:17-CV-02246-MMA-BLM                        24
                                                    Case 3:17-cv-02246-MMA-BLM Document 69-1 Filed 12/27/18 PageID.1947 Page 36 of 36



                                                     1 to any of its asserted affirmative defenses. Consequently, partial summary judgment
                                                     2 in favor of Plaintiff and the Class Members should be granted as to Noble House’s
                                                     3 liability only, for violations of § 1770(a)(20) of the CLRA. The issue of damages
                                                     4 can and should be reserved for a later hearing or trial.
                                                     5
                                                     6                                                           Respectfully submitted,
                                                     7                                                           KAZEROUNI LAW GROUP, APC
                                                     8 Date: December 27, 2018                                   By:/s/ Abbas Kazerounian
                                                                                                                    Abbas Kazerounian
                                                     9
                                                                                                                    Attorneys for Plaintiff
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                           Costa Mesa, California




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                                                         MEMO. OF P. & A. IN SUPP. OF PL.’S MOT. FOR PARTIAL SUMMARY JUDGMENT AS TO LIABILITY
                                                         CASE NO.: 3:17-CV-02246-MMA-BLM                        25
